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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA            :   Hon. Kevin McNulty
                                     :
         v.                          :   Crim. No. 20-555
                                     :
 THOMAS MANZO                        :   ORDER FOR A CONTINUANCE


      This matter having come before the Court on the joint application of Philip

R. Sellinger, United States Attorney for the District of New Jersey (by Kendall

Randolph, Assistant United States Attorney), and defendant Thomas Manzo (by

Amy Luria, Esq.), for an order granting a continuance of the proceedings in the

above-captioned matter from the date this Order is signed through and including

August 8, 2022, to permit defense counsel the reasonable time necessary for

effective preparation in this matter; and the defendant being aware that he has

the right to have the matter brought to trial within 70 days of the date of his

appearance before a judicial officer of this court pursuant to Title 18, United

States Code, Section 3161(c); and three prior continuances having been entered;

and time having been excluded from the date of the defendant’s arrest through

June 1, 2021 pursuant to Standing Order 2020-12; and the defendant, through

the defendant’s attorney, having consented to the continuance; and for good and

sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be continued

for the following reasons:
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       (1)   Taking into account the exercise of diligence, the facts of this case

require that defense counsel be permitted a reasonable amount of additional

time for effective preparation in this matter;

       (2)   The defendant has consented to the aforementioned continuance;

       (3)   The grant of a continuance likely will conserve judicial resources;

and;

       (4)   As a result of the foregoing, pursuant to Title 18, United States Code,

Section 3161(h)(7), the ends of justice served by granting the continuance

outweigh the best interests of the public and the defendant in a speedy trial.

       WHEREFORE, it is on this 11th day of May, 2022;

       ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through and including August 8, 2022; and it is further

       ORDERED that the period from the date this Order is signed through and

including August 8, 2022, and shall be excludable in computing time under the

Speedy Trial Act of 1974.

                                       /s/ Kevin McNulty
                                      HONORABLE KEVIN MCNULTY
                                      United States District Judge
Form and entry consented to:


Kendall Randolph
Assistant U.S. Attorney


 /s/Amy Luria
Amy Luria, Esq.
Counsel for Defendant

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